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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA,                 )
                                                 Criminal No. 12-295(2) (PAM/AJB)
                                          )
                      Plaintiff,          )
       v.                                 )
                                                 MEMORANDUM IN SUPPORT OF
                                          )
                                                 MOTION FOR PRETRIAL
                                          )
                                                 DISCLOSURE OF 404 EVIDENCE
JULIE ANN CAMPANA,                        )
                                          )
                      Defendant.          )



       Defendant respectfully submits the following memorandum to support her motion for

pretrial disclosure of 404(b) "bad act" evidence.

       Effective December 1, 1991, Rule 404 requires timely disclosure of "bad act"

evidence, upon defendant's request. What constitutes timely disclosure is left to the discretion

of the District Courts. However, directing that such evidence be disclosed to the defense

forthwith serves the interest of justice in a number of ways. The beneficial impact of pretrial

disclosure of evidence of other crimes is recognized by Minnesota state courts and other

jurisdictions, where such evidence is disclosed. See States v. Spreigel, 139 N.W.2d 167, n.

20-172-73 (Minn. 1965) (requiring pretrial disclosure as a matter of fairness to defendants).

       To allow [such previously undisclosed] testimony is to infringe the
       constitutional right of the defendant to demand in the nature and cause of the
       accusation against him. Such procedure might be palliated if there was any
       provision for giving the defendant notice of the other charges in such cases .
       ...

Id. at 173 n. 20 (quoting State v. Jensen, 140 p. 740, 741 (Or. 1914)).
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       The interest in preserving the overall fairness of proceedings against defendants,

recognized in the cases cited here, is only one consideration calling for immediate disclosure

of (b) evidence. Expedited disclosure will in addition facilitate the process of litigating the

admissibility of any such evidence which the government intends to use by allowing both

prosecution and defense the opportunity adequately to brief admissibility issues and motions

in limine, allowing rulings on admissibility prior to trial, and enhancing the efficiency with

which substantive issues of guilt and innocence can adjudicated.

       For the reasons stated above, defendant requests the Court order the government to

disclose any evidence it may seek to introduce under Rule 404(b) of the Federal Rules of

Evidence and to identify the witnesses through whom such evidence will be presented at trial.



Dated: January 11, 2013                           Respectfully submitted,




                                                  s/ Andrew H. Mohring
                                                  ANDREW H. MOHRING
                                                  Attorney ID No. 190731
                                                  Attorney for Defendant
                                                  107 U.S. Courthouse
                                                  300 South Fourth Street
                                                  Minneapolis, MN 55415




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